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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7
                                        VAHE TASHJIAN,
                                   8                                                             Case No. 5:19-cv-01536-EJD
                                                       Plaintiff,
                                   9                                                             ORDER GRANTING
                                                v.                                               MOTIONS TO
                                  10                                                             CONSOLIDATE ACTIONS
                                        INVICTUS RESIDENTIAL POOLER - 2A, et
                                  11    al.,
                                  12                   Defendants.                               Case No. 5:19-cv-01536-EJD
Northern District of California
 United States District Court




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                                  15    VAHE TASHJIAN,
                                  16                   Plaintiff,

                                  17            v.

                                  18    PLANET HOME LENDING, LLC, A
                                        CONNECTICUT LIABILITY COMPANY, et
                                  19    al.,
                                  20                   Defendants.

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                                  22          Plaintiff Vahe Tashjian has filed separate actions related to a mortgage loan. See Tashjian

                                  23   v. Invictus Residential Pooler - 2A et al, 5:19-cv-01536-EJD (“Invictus Action”); Tashjian v.

                                  24   Planet Home Lending, LLC, a Connecticut limited liability company et al, 5:20-cv-08816-EJD

                                  25   (“Planet Home Action”). Plaintiff alleges improper credit reporting and the chagrining of

                                  26   principal during an interest-only period on the loan. Plaintiff now asserts that these initial errors

                                  27   are a complete bar to foreclosure. On December 31, 2020, Planet Home Lending, LLC, Sprout

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                                       ORDER GRANTING MOTIONS TO CONSOLIDATE ACTIONS
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                                   1   Mortgage Asset Trust, and Prestige Default Services LLC (collectively, “Moving Defendants”)

                                   2   filed an administrative motion to consider whether Plaintiff’s two actions should be related. See

                                   3   Invictus Action, Dkt. No. 73. Thereafter, on January 6, 2021, the Court issued an Order relating

                                   4   the two actions. Invictus Action, Dkt. No. 75. Presently before the Court is a motion by the

                                   5   Moving Defendants to consolidate the related actions. See Invictus Action, Dkt. No. 78; Planet

                                   6   Home Action, Dkt. No. 20. Plaintiff has filed a notice of non-opposition to the Moving

                                   7   Defendants’ Motions to Consolidate. See Invictus Action, Dkt. No. 83; Planet Home Action, Dkt.

                                   8   No. 23.

                                   9     I.      DISCUSSION
                                  10             The district court may consolidate actions involving common questions of law and fact.

                                  11   Fed. R. Civ. P. 42(a)(2). The court exercises “broad discretion to decide how cases on its docket

                                  12   are to be tried so that the business of the court may be dispatched with expedition and economy
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                                  13   while providing justice to the parties.” Morin v. Turpin, 778 F. Supp. 711, 733 (S.D.N.Y. 1991)

                                  14   (citing 6 C. Wright & A. Miller, Federal Practice and Procedure § 1471, at 359 (1971)). In

                                  15   exercising this discretion, the court “weighs the saving of time and effort consolidation would

                                  16   produce against any inconvenience, delay, or expense that it would cause.” Huene v. United

                                  17   States, 743 F.2d 703, 704 (9th Cir. 1984). Consolidation may occur upon motion by a party or sua

                                  18   sponte. In re Adams Apple, Inc., 829 F.2d 1484, 1487 (9th Cir. 1987).

                                  19             Upon review of the complaints in each of the actions presented here, the Court finds that each

                                  20   case presents substantially similar factual and legal issues with respect to Plaintiff’s mortgage loan.

                                  21   The actions are also in the same procedural stage as the defendants have filed separate answers. In

                                  22   addition, since the claims for each case arise from a similar nucleus of events, discovery issues relating

                                  23   to each action will be parallel. Further, there appears to be no basis to find that consolidation would

                                  24   cause inconvenience, delay or expense, especially since the parties appear to agree with the

                                  25   consolidation request. As such, the court finds consolidation appropriate for all purposes.

                                  26    II.      ORDER
                                  27             The motions to consolidate the above-captions cases are GRANTED. The Court hereby

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                                          Case 5:19-cv-01536-EJD Document 84 Filed 03/29/21 Page 3 of 3




                                   1   ORDERS that the Clerk of the Court shall consolidate case numbers 5:19-cv-01536-EJD and 5:20-

                                   2   cv-08816-EJD into one case such that the earliest filed action, 5:19-cv-01536-EJD, is the lead

                                   3   case. Since the later action is now subsumed by the first-filed action, the Clerk shall

                                   4   administratively close case number 5:20-cv-08816-EJD.

                                   5          IT IS SO ORDERED.

                                   6   Dated: March 29, 2021

                                   7                                                    ______________________________________
                                                                                        EDWARD J. DAVILA
                                   8                                                    United States District Judge
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                                  28   Case No.: 5:19-cv-01536-EJD
                                       ORDER GRANTING MOTIONS TO CONSOLIDATE ACTIONS
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